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                                SILVERMAN I ATTORNEYS
                               &ASSOCIATES               AT LAW


                                                      March 24, 2023

 VIAECF
 Honorable Kenneth M. Karas
 United States District Court
 Southern District of New York
 300 Quarropas Street
 White Plains, N.Y. 10601

               Re:      Karen Berens v. Southern Westchester BOCES
                        S.D.N.Y. Docket No.: 22-CV-8183(KMK)

 Dear Judge Karas:

        We represent the Defendants Southern Westchester BOCES and the Board of Education
 of Southern Westchester BOCES ("BOCES"). Although we initially intended to file a Rule
 12(b) motion to dismiss, we have further evaluated the Amended Complaint and determined that
 it would be most efficient and likely lead to a quicker resolution of the case to file an Answer
 and move for summary judgment upon the completion of discovery. Accordingly, we will file
 an Answer under separate cover shortly.

        We greatly appreciate the Court's time and attention.

 So Ordered.                                 Respectfully submitted,


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                                       By:   Lff1A~0, ~
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 cc:    Via ECF
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